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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


NATIONAL AIR TRAFFIC CONTROLLERS   :
ASSOCIATION, AFL-CIO,              :
                                   :
     and                           :
                                   : Civil Action No. 1:04CV00138
PROFESSIONAL AIRWAYS SYSTEMS       :
SPECIALISTS, AFL-CIO,              :
                                   : Judge: Rosemary M. Collyer
               Plaintiffs,         :
                                   :
 vs.                               :
                                   :
FEDERAL SERVICE IMPASSES PANEL     :
                                   :
     and                           :
                                   :
FEDERAL LABOR RELATIONS AUTHORITY, :
                                   :
               Defendants.         :
                                   :


             PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

     Plaintiffs National Air Traffic Controllers Association,

AFL-CIO (“NATCA”) and Professional Airways Systems Specialists,

AFL-CIO (“PASS”) respectfully move the Court pursuant to Rule 56,

Fed. R. Civ. P., to grant summary judgment in their favor.

Plaintiffs respectfully submit that there are no genuine issues

of material fact in dispute and that they are entitled to

judgment as a matter of law.

     In support of this Motion, Plaintiffs submit the

accompanying Statement of Material Facts as to Which There Is No

Genuine Issue, Memorandum of Points and Authorities in Support of

Plaintiffs’ Motion, and the Declarations of Thomas Brantley and
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John Carr and the Exhibits thereto.



                                 Respectfully submitted,




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Dated: March 16, 2004

                                    2
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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


NATIONAL AIR TRAFFIC CONTROLLERS   :
ASSOCIATION, AFL-CIO,              :
                                   :
     and                           :
                                   : Civil Action No. 1:04CV00138
PROFESSIONAL AIRWAYS SYSTEMS       :
SPECIALISTS, AFL-CIO,              :
                                   : Judge: Rosemary M. Collyer
               Plaintiffs,         :
                                   :
 vs.                               :
                                   :
FEDERAL SERVICE IMPASSES PANEL     :
                                   :
     and                           :
                                   :
FEDERAL LABOR RELATIONS AUTHORITY, :
                                   :
               Defendants.         :
                                   :

                  STATEMENT OF MATERIAL FACTS AS
                TO WHICH THERE IS NO GENUINE ISSUE

     Pursuant to Local Rule 56.1, D.C. L.Cv.R., Plaintiffs

National Air Traffic Controllers Association, AFL-CIO (“NATCA”)

and Professional Airways Systems Specialists, AFL-CIO (“PASS”)

submit this Statement of Material Facts as to Which There Is No

Genuine Issue in support of their Motion for Summary Judgment.

          A.    THE PARTIES

     1. Plaintiff NATCA is a labor organization within the

meaning of 5 U.S.C. §7103(a)(4), which represents 16,000

employees of the Federal Aviation Administration (“FAA”),

including 1,800 employees in the following eleven bargaining

units: Notice to Airman Office Specialists; Budget and Financial
      Case 1:04-cv-00138-RMC Document 6 Filed 03/16/04 Page 4 of 35



Analysis Specialists; Logistic, Finance, Accounting and

Information Services Engineers (Oklahoma City and Atlantic City);

Automatic Specialists; Aerospace Medical Nurses; FAA Airports

Decision employees, FAA Aircraft Certification Decision

employees, Regional Counsel Offices employees, Air Worthiness

Engineers (Oklahoma City); and Drug Abatement Specialists.

Declaration of John Carr (“Carr Decl.”) ¶2.

     2. Plaintiff PASS is a labor organization within the meaning

of 5 U.S.C. § 7103(a)(4), representing approximately 11,000 FAA

employees including, inter alia, some 4,000 FAA employees in the

following four bargaining units: Flight Standards; Aviation

Standards; Manufacturing Inspection District Office; and AFS-700

employees.   Declaration of Thomas Brantley (“Brantley Decl.”) ¶2.

     3. The Civil Service Reform Act of 1978 (“CSRA”), 5 U.S.C.

§§7101, et seq., (Chapter 71), provides for collective bargaining

between federal agencies and their employees’ exclusive

bargaining representatives, over “conditions of employment” as

defined in 5 U.S.C. §§7103(a)(14), 7114(b)(2).        Defendant Federal

Labor Relations Authority (“FLRA” or “the Authority”) is an

agency of the United States Government, established by Congress

under 5 U.S.C. §7104(a) for the purpose of administering Chapter

71 of Title 5 and, inter alia, of affording “protection of the

right of [federal] employees to organize, bargain collectively,

and participate through labor organizations of their own choosing


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        Case 1:04-cv-00138-RMC Document 6 Filed 03/16/04 Page 5 of 35



in decisions which affect them....” 5 U.S.C.          §7101(a).

     4. Defendant Federal Service Impasses Panel (“FSIP” or “the

Panel”) is “an entity within the Authority” established under 5

U.S.C. §7119(c)(1) “to provide services and assistance to

agencies and exclusive representatives in the resolution of

negotiation impasses between agencies and exclusive

representatives.”     5 U.S.C. §7119(a).

     B.      THE INSTANT DISPUTE

     5.    On July 8, 2003, NATCA filed a formal Request for

Assistance with the FSIP, requesting that the Panel consider an

impasse reached in collective bargaining negotiations with the

FAA in the eleven bargaining units described in ¶1, supra, and

identifying the specific subjects of bargaining over which the

impasse had occurred (Case No. 03 FSIP 144). Carr Decl. ¶3.

     6.    On various dates in July 2003, PASS filed formal

Requests of Assistance with the FSIP, notifying the Panel that an

impasse had been reached in collective bargaining negotiations

with the FAA in the four bargaining units described in ¶2, supra,

and identifying the specific subjects of bargaining over which

the impasse had occurred (Case Nos. 03 FSIP 149, 150, 151 and

157).     Brantley Decl. ¶4.

     7.    On September 22, 2003, the FAA filed two Statements of

Position with the Panel.       In those Statements of Position, the

FAA took the position that the Air Traffic Management System


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Performance Act of 1996 completely divested the FSIP of any

jurisdiction over collective bargaining between the FAA and NATCA

and PASS.    Carr Decl. ¶4; Brantley Decl. ¶5.

     8.    The FSIP thereafter solicited legal positions from the

parties.    Carr Decl. ¶5; Brantley Decl. ¶6.

     9.    On January 9, 2004, the FSIP issued companion decisions

regarding NATCA’s and PASS’s Requests for Assistance.          Carr Decl.

¶6; Brantley Decl. ¶7.     The Panel clearly recognized the

existence of a bona fide bargaining impasse in each case.

Nonetheless, in each decision, the FSIP advised the parties that

it would not resolve the existing collective bargaining impasses,

“because it is unclear whether the Panel has the authority to

resolve the parties’ impasse[s].”        Compl., Exh. A at 1, Exh. B at

1.   However, the FSIP stated that,

     This determination to decline to assert jurisdiction is made
     without prejudice to the right of either party to file
     another request for assistance if the underlying threshold
     question is resolved in the appropriate forum consistent
     with the Union’s interpretation of the applicable statutory
     provisions.

Compl., Exh. A at 4, Exh. B at 4.

     10.    On January 30, 2004, NATCA and PASS filed the instant

action, seeking resolution of this jurisdictional question.

Specifically, Plaintiffs have requested that the Court declare

that the FSIP’s decisions of January 9, 2004 violate the Panel’s

statutory authority, exceed the FSIP’s jurisdiction under 5

U.S.C. §7119 and deprive NATCA, PASS and affected FAA employees

                                     4
       Case 1:04-cv-00138-RMC Document 6 Filed 03/16/04 Page 7 of 35



of their statutory right to engage in collective bargaining in

violation of 5 U.S.C. §§ 7101 et seq.        In addition, plaintiffs

request that the Court order the FSIP to resolve the existing

impasses.     Compl. at 8-9.

      11.   On January 30, 2004, the FAA submitted to the United

States Congress its final collective bargaining proposals for

terms and conditions of employment that were the subject of the

impasse in collective bargaining between NATCA and the FAA, and

of NATCA’s Request for Assistance filed with the FSIP. Carr

Decl., ¶7. In its submission to Congress, the FAA states that it

“plans to put into effect these important changes ... absent

Congressional action, sixty (60) days after submission, excluding

any period during which Congress has adjourned sine die[,]” or on

March 30, 2004.     Carr Decl., ¶7, Exh. 1 at 3.

      12.   The FAA has indicated that it is in the process of

preparing a submission to Congress of its proposed terms and

conditions of employment that are the subject of the impasse in

collective bargaining between PASS and the FAA.         Brantley Decl.,

¶8.

      13.   To date, the FAA has given no indication that it will

await resolution of this litigation before acting unilaterally.

Carr Decl., ¶7.

      C.    THE FAA’S PERSONNEL MANAGEMENT SYSTEM

      14. On November 15, 1995, Congress enacted Section 347 of


                                     5
      Case 1:04-cv-00138-RMC Document 6 Filed 03/16/04 Page 8 of 35



the 1996 Department of Transportation (“DOT”) Appropriations Act,

Pub. L. No. 104-50, §347, 109 Stat. 460 (1995), directing the FAA

to develop and implement a new personnel management system, to

address “the unique demands on the agency’s workforce.”         Section

347(b) specifically stated that Chapter 71 of Title 5 of the U.S.

Code would not apply to the new FAA personnel management system,

except for the prohibition of the right to strike in §7116(b)(7).

Pub. L. No. 104-50, §347(b).

     15. On March 28, 1996, the FAA issued a new Personnel

Management System (“PMS”), organized in chapters addressing

Agency staffing, compensation, performance management, training

and executive systems.    Carr Decl., Exh. 2. Chapter V, Labor

Relations provided as follows:

     EMPLOYEE RIGHTS

           The FAA, all FAA employees, and all labor
           organizations representing FAA employees
           shall have the same rights, and be subject to
           the same responsibilities and limitations, as
           are available to all Federal agencies,
           employees, and labor organizations under 5
           U.S.C. Chapter 71. Id. at 35.

     16.   This provision is also contained in the most recent

version of the PMS, currently posted on the FAA’s website at:

www.faa.gov/ahr/policy.    Carr Decl., ¶9, Exh. 3.

     17.   On March 29, 1996, Congress passed House Joint

Resolution 170, Pub. L. 104-122, 110 Stat. 876 (1996), which

amended Section 347 of the 1996 DOT Appropriations Act, to


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      Case 1:04-cv-00138-RMC Document 6 Filed 03/16/04 Page 9 of 35



require the applicability of Chapter 71 of Title 5, relating to

labor-management relations, to the FAA’s new PMS.

     18.   On October 9, 1996, Congress enacted the Air Traffic

Management System Performance Improvement Act of 1996, Pub. L.

104-264, Title II, 110 Stat. 3227 (1996) (“the 1996 FAA Act”) to

establish a procedure for “developing and making changes to the

personnel management system initially implemented by the

Administrator ... on April 1, 1996 ....” 49 U.S.C. §40122(a).

     19.   The 1996 FAA Act required the FAA to negotiate with its

employees’ exclusive collective bargaining representatives over

any changes to the FAA PMS, and to engage in mediation if such

negotiations did not produce an agreement.       In the event of an

impasse over proposed changes to the PMS, the 1996 FAA Act

provided for the FAA Administrator to transmit its proposals,

along with the bargaining representative’s objections, to

Congress. Proposed changes to the PMS were not to take effect

until sixty days after the Agency’s submission to Congress. 49

U.S.C. §40122(a).

     20.   At the same time, Congress stipulated that all labor-

management agreements then in effect were to remain in effect

until their expiration dates. 49 U.S.C. §40122(f).

     21.   In 2000, Congress codified the provisions of House

Joint Resolution 170, by adding subsection (g) to 49 U.S.C.

§40122 to specify that Chapter 71 of Title 5, “relating to labor-


                                    7
     Case 1:04-cv-00138-RMC Document 6 Filed 03/16/04 Page 10 of 35



management relations,” would apply to the FAA PMS.        Pub. L. No.

106-181, Title III, §307(a), 114 Stat. 124 (2000).


                                 Respectfully submitted,




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Dated: March 16, 2004

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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


NATIONAL AIR TRAFFIC CONTROLLERS   :
ASSOCIATION, AFL-CIO,              :
                                   :
     and                           :
                                   : Civil Action No. 1:04CV00138
PROFESSIONAL AIRWAYS SYSTEMS       :
SPECIALISTS, AFL-CIO,              :
                                   : Judge: Rosemary M. Collyer
               Plaintiffs,         :
                                   :
 vs.                               :
                                   :
FEDERAL SERVICE IMPASSES PANEL     :
                                   :
     and                           :
                                   :
FEDERAL LABOR RELATIONS AUTHORITY, :
                                   :
               Defendants.         :
                                   :

             MEMORANDUM OF POINTS AND AUTHORITIES IN
       SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

     This case stems from impasses in collective bargaining

between the National Air Traffic Controllers Association, AFL-CIO

(“NATCA”) and Professional Airways Systems Specialists, AFL-CIO

(“PASS”) and the Federal Aviation Administration (“FAA” or “the

Agency”) and from the refusal of the Federal Service Impasses

Panel (“FSIP” or “the Panel”)-- the Agency established by

Congress to provide federal unions and agencies with assistance

in resolving impasses in their collective bargaining negotiations

-- to exercise its mandatory jurisdiction.

     NATCA and PASS seek a proper resolution of their bargaining
     Case 1:04-cv-00138-RMC Document 6 Filed 03/16/04 Page 12 of 35



impasses with the FAA by the impartial FSIP that has been

statutorily charged with that task.      We contend that plain

statutory language requires the FSIP to exercise its jurisdiction

to resolve these bargaining impasses, that the Panel’s refusal to

exercise such jurisdiction directly violates its statutory

authority, and that this Court has authority to remedy that

violation under the Supreme Court’s decision in Leedom v. Kyne,

355 U.S. 184 (1958) (hereinafter “Leedom”) and its progeny.

     We press that contention with urgency in light of the FAA’s

declared intention to circumvent the FSIP and to unilaterally

impose its bargaining proposals on or about March 30, 2004.

                         STATEMENT OF FACTS

     Plaintiffs have separately filed a Statement of Material

Facts as to Which There Is No Genuine Dispute (“Pl. St. of

Facts”) which shows essentially as follows:

          A. THE INSTANT COLLECTIVE BARGAINING DISPUTE

     NATCA represents some 16,000 FAA employees, including

approximately 1,800 employees in the eleven bargaining units

involved in the instant case, and PASS represents approximately

11,000 FAA employees, including some 4,000 in four bargaining

units involved in the instant case. Pl. St. of Facts, ¶¶ 1,2.

     The Civil Service Reform Act of 1978 (“CSRA”), 5 U.S.C.

§§7101, et seq. (i) requires federal agencies, such as the FAA,

and the exclusive bargaining representatives of the agency’s


                                   2
         Case 1:04-cv-00138-RMC Document 6 Filed 03/16/04 Page 13 of 35



employees, such as NATCA and PASS, to engage in “good faith”

collective bargaining negotiations over “conditions of

employment,” 5 U.S.C. §§7103(a)(14), 7114(b)(2); and (ii)

establishes the FSIP, as an entity within the Federal Labor

Relations Authority (“FLRA”), whose function is “... to provide

services and assistance to agencies and exclusive representatives

in the resolution of negotiation impasses.” 5 U.S.C.§ 7119

(c)(1).1

     On July 8, 2003, after extensive collective bargaining

negotiations between the FAA and NATCA had failed to produce

initial collective bargaining agreements in eleven bargaining

units,     NATCA filed a formal Request for Assistance with the FSIP

to resolve the impasse the parties had reached over designated

bargaining issues.       Pls. St. of Facts, ¶5. Likewise, on various

dates in July, 2003, after extensive collective bargaining

negotiations had failed to produce agreement in four bargaining

units, PASS invoked the FSIP’s process to resolve impasses over

specified bargaining issues. Id., ¶6.

     The FAA responded to those requests by claiming that the Air

Traffic Management System Performance Improvement Act of 1996

(“the 1996 FAA Act”) divested the FSIP of any jurisdiction over

collective bargaining impasses between the FAA and NATCA and



     1
      The full text of 5 U.S.C. §7119 is reprinted in the
Statutory Addendum attached to this Memorandum.

                                       3
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between the FAA and PASS.    Relying upon a series of legislative

acts that mandated the FAA’s establishment of a new Personnel

Management System (“PMS”) and prescribed processes for

negotiating over FAA “changes to the personnel management

system,”    the FAA announced that it would present its final

collective bargaining proposals to Congress and, absent

Congressional action within sixty days, would impose those

proposals unilaterally. ¶¶7, 11.

     On January 9, 2004, the FSIP formally advised the parties

that it would not act on the NATCA and PASS Requests for

Assistance because, in the Panel’s view, it was “unclear” whether

or not the Panel had statutory authority to resolve the parties’

impasses.   Id., ¶9   The FSIP added that its refusal to provide

assistance was without prejudice to the unions’ right to file

another request for FSIP assistance once the jurisdictional

question raised by the FAA had been resolved in their favor “in

the appropriate forum.”     Id.

     Accordingly, on January 30, 2004, the Plaintiffs filed the

instant action: (i) requesting this Court to declare that the

FSIP’s January 9, 2004 decisions violate the Panel’s statutory

authority and deprive NATCA, PASS and the affected FAA employees

of their statutory right to engage in collective bargaining; and

(ii) seeking an order directing the FSIP to provide assistance in

resolving NATCA and PASS impasses with the FAA in accordance with


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5 U.S.C. §7119(c).

     On the same date that this action was filed, the FAA

submitted to Congress its final proposed collective bargaining

agreements for the eleven NATCA-represented bargaining units with

a statement of its intention to impose those agreements sixty

days thereafter -- i.e., on March 30, 2004 -- absent

Congressional action.   Id., ¶11.

     In addition, the FAA has indicated that it is in the process

of preparing a parallel submission to Congress covering the PASS-

represented bargaining units.       Id., ¶12.

          B. THE FAA’S PERSONNEL MANAGEMENT SYSTEM

     On November 15, 1995, Congress enacted Section 347 of the

1996 Department of Transportation (“DOT”) Appropriations Act,

Pub. L. No. 104-50, § 347, 109 Stat. 460 (1995), directing the

FAA to develop and implement a new personnel management system,

to address “the unique demands on the agency’s workforce.”

Section 347(b) specifically stated that Chapter 71 of Title 5 of

the U.S. Code would not apply to the new FAA personnel management

system, except for the prohibition of the right to strike in

§7116(b)(7).   Pub. L. No. 104-50, §347(b).

     On March 28, 1996, acting in response to Congress’

directive, the FAA issued a new Personnel Management System

(“PMS”). The March 28, 1996 PMS was organized in Chapters

addressing Agency staffing, compensation, performance management,


                                    5
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training and executive systems. Of particular significance here,

Chapter V, Labor Relations provided:

     The FAA, all FAA employees, and all labor organizations
     representing FAA employees shall have the same rights, and
     be subject to the same responsibilities and limitations, as
     are available to all Federal agencies, employees, and labor
     organizations under 5 U.S.C. Chapter 71.

Id., ¶15.2

     On March 29, 1996, nearly simultaneous with the FAA’s

promulgation of the new PMS, Congress passed House Joint

Resolution 170, Pub. L. 104-122, 110 Stat. 876 (1996). That

legislation amended Section 347 of the 1996 DOT Appropriations

Act to require that the FAA PMS adhere to “chapter 71, relating

to labor-management relations.”            Pub. L. 704-722, 110 Stat. 876.3

     On October 9, 1996, Congress enacted the Air Traffic

Management System Performance Improvement Act of 1996, Pub. L.

104-264, Title II, 110 Stat. 3227 (1996) (“the 1996 FAA Act”) to

establish a procedure for “developing and making changes to the

personnel management system initially implemented by the

Administrator ... on April 1, 1996 ....” 49 U.S.C. §40122(a).4

     The 1996 FAA Act required the FAA to negotiate with its


     2
     This same provision is contained in the current version of
the FAA PMS, posted on the Agency’s website at:
www.faa.gov/ahr/policy. Pls. St. of Facts, ¶16.
     3
     The full text of House Joint Resolution 170 is reprinted in
the Statutory Addendum.
     4
     The full text of 49 U.S.C. §40122 is reprinted in the
Statutory Addendum.

                                       6
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employees’ exclusive collective bargaining representatives over

“changes to the personnel management system,” and to engage in

mediation if such negotiations did not produce an agreement on

the changes to the PMS the FAA proposed. 49 U.S.C. §40122(a)(1)

and (2).   In the absence of an agreement on the FAA’s proposals

to change the PMS, the 1996 FAA Act provided for the FAA

Administrator to transmit the FAA’s proposed changes to the PMS

to Congress, along with the bargaining representative’s

objections thereto.   Proposed changes to the PMS were not to take

effect until sixty days after the Agency’s submission to Congress

absent intervening Congressional action. 49 U.S.C. §40122(a)(2).

     At the same time, Congress stipulated that all labor-

management agreements then in effect were to remain in effect

until their expiration dates, irrespective of any intervening

changes in the overall PMS. 49 U.S.C. §40122(f).

     Finally, in 2000, Congress codified the provisions of House

Joint Resolution 170, to specify in 49 U.S.C. §40122(g) that the

FAA PMS include “chapter 71, relating to labor-management

relations.”   Pub. L. No. 106-181, Title III, §307(a), 114 Stat.

124 (2000).

                               ARGUMENT

     This case presents two questions of law: (1) whether the

FSIP has mandatory statutory authority to assist the FAA and

NATCA and PASS in resolving the existing collective bargaining


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impasses; and (2) if so, whether this Court has jurisdiction to

remedy the FSIP’s abdication of that statutory authority.         We

contend that the FSIP is mandated by plain statutory language to

resolve the plaintiff unions’ impasses with the FAA, the FAA’s

protestations notwithstanding, and that this Court has

jurisdiction under Leedom to direct the Panel to do so.

     A.   THE FSIP HAS THE AUTHORITY AND DUTY TO RESOLVE
          PLAINTIFFS’ COLLECTIVE BARGAINING IMPASSES WITH THE
          FAA.

     The Civil Service Reform Act (“CSRA”) governs federal

collective bargaining; in contrast to the National Labor

Relations Act, the CSRA does not provide for the resolution of

collective bargaining impasses through “[t]he presence of

economic weapons in reserve, and their actual exercise on

occasion by the parties....”     NLRB v. Insurance Agents, 361 U.S.

477, 489 (1960).   Rather, the CSRA specifically prohibits federal

employee strikes, 5 U.S.C. §7116(b)(7), and establishes the FSIP

to provide an alternative process for resolving collective

bargaining impasses between federal agencies and the exclusive

bargaining representatives of their employees, 5 U.S.C. §7119(c).

     Congress mandated that the FSIP “shall promptly investigate

any impasse presented to it”, “shall consider the impasse”, and

“shall either – (i) recommend to the parties procedures for the

resolution of the impasse; or (ii) assist the parties in

resolving the impasse....”    5 U.S.C. §7119(c)(5)(A) (emphasis


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     Case 1:04-cv-00138-RMC Document 6 Filed 03/16/04 Page 19 of 35



added).   Thus, the Panel “shall” assist the parties through

whatever methods it finds appropriate and failing success, “may”

hold hearings, receive testimony, issue subpoenas or take any

other action necessary to resolve the impasse, including

prescribing the inclusion of specific language in the parties’

collective bargaining agreement.       5 U.S.C. §7119(c)(5)(B).       See

also Council of Prison Locals v. Brewer, 735 F.2d 1497, 1498

(D.C. Cir. 1984).

     Nothing in the 1996 FAA Act purports to divest the FSIP of

its mandatory jurisdiction to resolve the NATCA and PASS

collective bargaining impasses with the FAA.       The process for

amending the FAA PMS set forth in the 1996 FAA Act is separate

and distinct from the process for negotiating collective

bargaining agreements.    Indeed, the 1996 FAA Act expressly

protected the collective bargaining rights of FAA employees with

respect to existing labor agreements.       49 U.S.C. §40122(f).

     Moreover, in House Joint Resolution 170, enacted just prior

to the 1996 Act and then codified four years later in 2000 into

subsection (g) of Section 40122, Congress made it abundantly

clear that the collective bargaining processes outlined in

Chapter 71 of Title 5, “relating to labor-management relations,”

applies with full force to the new FAA PMS.       49 U.S.C.




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§40122(g)(2)(C).5

     Finally, the FAA’s own Personnel Management System to this

day expressly acknowledges the foregoing to be the case –- under

Chapter V of the PMS, “all FAA employees, and all labor

organizations representing FAA employees shall have the same

rights ... as are available to all Federal agencies, employees,

and labor organizations under 5 U.S.C. Chapter 71.”            Pls. St. of

Facts, ¶15 (emphasis added).6

     The process for amending the FAA PMS, as set forth in the

1996 FAA Act, is thus different from and inapplicable to the

recurring negotiation of collective bargaining agreements

pursuant to Chapter V of the PMS itself.           After the 1996 FAA Act

as before, the FSIP has a mandatory jurisdiction under 5 U.S.C.

§7119(c) over the resolution of NATCA’s and PASS’s collective

bargaining impasses, and the FSIP’s refusal to resolve those

     5
     Our careful review of the legislative history has not
uncovered one word of contrary legislative intent. See, e.g.,
H.R. Conf. Rep. No. 104-848 at 26-27 (1996); H.R. Conf. Rep. No.
106-513 at 181-82 (2000).
     6
     Moreover, the FAA’s claim to the FSIP that the FAA
Administrator is authorized under 49 U.S.C. §106(l)(1) “to fix
the compensation and benefits of ... employees ... as may be
necessary to carry out the functions of the Administrator and the
Administration[,]” independent of the CSRA and the FSIP, is
negated by the express incorporation of section 40122(g)(2)(C)
into §106(l)(1)(“Except as provided in subsections (a) and (g) of
section 40122")(emphasis added). That reference specifically
incorporates “chapter 71, [of Title 5] relating to labor-
management relations.” The full text of 49 U.S.C. §106(l) is
included in the Statutory Addendum.


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impasses is in plain violation of that statutory provision.

     B.   THIS COURT HAS JURISDICTION TO REMEDY THE FSIP’S
          VIOLATION OF ITS STATUTORY AUTHORITY AND SHOULD
          EXERCISE THAT JURISDICTION TO PROVIDE A SPEEDY
          RESOLUTION OF THIS DISPUTE.

     This Court is “the appropriate forum” to redress the FSIP’s

disregard of its statutory obligation to resolve the existing

collecting bargaining impasses.

     It is well established that the district courts have

jurisdiction to remedy actions by federal agencies that are

contrary to express statutory authority and that have “deprived

... employees of a ‘right’ assured to them by Congress.”         Leedom

v. Kyne, 358 U.S. at 189.    In Leedom, the Supreme Court upheld

the district court’s jurisdiction to remedy the National Labor

Relations Board’s (“the Board”) violation of a statutory

provision expressly requiring a vote among professional employees

as to whether they wanted to be included in a bargaining unit

with nonprofessional employees.     The Court so ruled even though

the Board’s decisions in representation cases are not generally

subject to judicial review, except in the context of an appeal of

an unfair labor practice case.

     Where, as here, Congress has given a ‘right’ to the
     professional employees it must be held that it intended
     their right to be enforced, and ‘the courts ... encounter no
     difficulty in fulfilling its purpose.’

Id. at 191 (citation omitted).

     Similarly, although FSIP decisions typically are reviewable


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        Case 1:04-cv-00138-RMC Document 6 Filed 03/16/04 Page 22 of 35



only indirectly in the context of unfair labor practice cases,

“direct judicial review” may be had “in extraordinary

circumstances[.]”      Council of Prison Locals v. Brewer, 735 F.2d

at 1498 (denying review of the merits of an FSIP decision

prescribing specific contract language).          In the usual case, FSIP

decisions are subject neither to administrative review by the

FLRA nor to judicial review.        Id. at 1499.    The customary avenue

to appeal an FSIP decision is through a refusal to comply,

precipitating an unfair labor practice proceeding before the

FLRA.    An aggrieved party may then petition for review of the

resulting FLRA decision in the courts of appeals.           Id. at 1500.

See 5 U.S.C. §§ 7115(a)(6), 7123(a).

     Relying upon Leedom, however, the D.C. Circuit expressly

recognized that, “in exceptional circumstances, a district court

may exercise federal jurisdiction to invalidate a Panel order

made ‘in excess of its delegated powers....’”          735 F.2d at 1500-

01 (quoting Leedom).      “[T]o justify [Leedom] jurisdiction, there

must be a ‘specific provision of the Act which, although it is

“clear and mandatory,”’ was nevertheless violated by the Panel.”

Id. at 1501 (quoting Physicians Nat’l House Staff Ass’n v.

Fanning, 642 F.2d 492, 496 (D.C. Cir. 1980), cert. denied, 450

U.S. 917 (1981)).

     That is precisely the situation here -- a specific statutory

provision, Section 7119(c), mandates that the FSIP “shall”


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         Case 1:04-cv-00138-RMC Document 6 Filed 03/16/04 Page 23 of 35



consider the impasse and “shall” either recommend procedures for

resolving the impasse or “shall” assist the parties in resolving

the impasse. 5 U.S.C. §7119(c)(5)(A).          And as we have shown,

nothing in the 1996 FAA Act divests the Panel of this mandatory

jurisdiction.

     A statutory command of “shall” is “mandatory,” and “a

failure to so [act] ... would be prohibited by the Act and in

excess of the Board’s powers.”         Miami Newspaper Printing

Pressmen’s Local 46 v. McCulloch, 322 F.2d 993, 997 (D.C. Cir.

1963) (regarding the NLRB’s failure to certify representation

results under Section 9(c)(1) of the National Labor Relations

Act, 29 U.S.C. §159(c)(1)).        In Miami Newspaper, the Court of

Appeals found that, ”[a] party would be as aggrieved by such a

failure as by an act of the Board contrary to an express

prohibition[,]” and ruled that the district court had

jurisdiction over the union’s cause of action.           Id. at 997-98.7

     Likewise, in Railway Labor Executives’ Ass’n v. NMB, 29 F.3d

655 (D.C. Cir. 1994) (en banc), cert. denied, 514 U.S. 1032

(1995), the Court declined to limit Leedom to instances in which

an agency violated a “‘shall not’ statutory command[.]”             (NMB

exceeded its statutory authority by issuing merger guidelines


     7
      See also Air Line Dispatchers Ass’n v. NMB, 189 F.2d 685,
689 (D.C. Cir.), cert. denied, 342 U.S. 849 (1951) (In a pre-
Leedom decision, the D.C. Circuit upheld district court review of
the NMB’s refusal to exercise jurisdiction over foreign
employees, but sustained the NMB’s decision).

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permitting employers and the agency to initiate representation

proceedings contrary to the provisions of Section 2 Ninth of the

Railway Labor Act, 45 U.S.C. § 152 Ninth).       Rather, “an agency

... could as well exceed its delegated powers by failing to

adhere to a specific affirmative command.”       Id. at 662.

     Here the FSIP exceeded its delegated powers by refusing to

assist NATCA and PASS in resolving their impasses with the FAA.

The Supreme Court recently clarified that “central” to its

decision in Leedom “was the fact that the Board’s interpretation

of the Act would wholly deprive the union of a meaningful and

adequate means of vindicating its statutory rights.”        Board of

Governors of the Fed. Reserve Sys. v. MCorp Fin., Inc., 502 U.S.

32, 43 (1991).   Given the FAA’s presumptuous attempt to

unilaterally and precipitously impose its bargaining proposals

within a matter of days, here too the affected employees face a

wholesale deprivation of their collective bargaining rights,

absent timely intervention by this Court.

                              CONCLUSION

      For all these reasons, NATCA and PASS respectfully urge the

Court to grant their Motion for Summary Judgment, enter judgment

for the Plaintiffs forthwith, and order the declaratory and

injunctive relief requested.




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Dated: March 16, 2004



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                    STATUTORY ADDENDUM
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                                               LEXSTAT 5 U.S.C. 7119

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                        *** CU RREN T T HR OU GH P.L. 1 08-2 04, A PP RO VE D 3/02/0 4 ***
                                      *** W ITH A GA P O F 10 8-20 3 ***

                   TITLE 5. GOVE RNM ENT O RGANIZATION AND EM PLOYEE S
                                      PART III. EMPLOYEES
                SUBPAR T F. LABOR-MANA GEM ENT AN D EM PLOYEE RELATIONS
                         CHAPT ER 71. LABOR-MANAG EME NT RELAT IONS
          SUBCHAPTER II. RIGHTS AND DUTIES OF AGENCIES AND LABOR ORGANIZATIONS


   5 USCS § 7119 (2004)




§ 7119. Negotiation impasses; Federal Service Impasses Panel

(a) The Federal M ediation and Conciliation Service shall provide services and assistance to agencies and exclusive
representatives in the resolution of negotiation impasses. The Service shall determine under what circumstances and
in what manner it shall provide services and assistance.

(b) If voluntary arrangements, including the services of the Federal Mediation and Conciliation Service or any other
third-party mediation , fail to resolve a negotiation impasse--
  (1) either party may request the Federal Service Impasses Panel to consider the matter, or
  (2) the parties may agree to adopt a procedure for binding arbitration of the negotiation impasse, but only if the
procedure is ap proved by the P anel.

(c) (1) The Federal Service Impasses Panel is an entity within the Authority, the function of which is to provide
assistance in resolving nego tiation impasses between agenc ies and exclusive rep resentatives.
  (2) The Panel shall be composed of a Chairman and at least six other members, who shall be appointed by the
President, solely on the basis of fitness to perform the duties and functions involved, from among individuals who
are familiar with Governmen t operations and know ledgeab le in labor-management relations.
  (3) Of the original members of the Panel, 2 members shall be appointed for a term of 1 year, 2 members shall be
app ointed for a term of 3 yea rs, and the Chairman and the rem aining m emb ers shall be ap pointed for a term of 5
years. T herea fter each mem ber shall be appo inted for a term of 5 yea rs, except that an individual cho sen to fill a
vacancy shall be appointed for the unexpired term of the member replaced. Any member of the Panel may be
remo ved by the P resident.
  (4) The Panel may app oint an Executive Director and any other individuals it may from time to time find necessary
for the proper performance of its duties. Each member of the Panel who is not an employee (as defined in section
2105 of this title is entitled to pay at a rate equal to the daily equivalent of the maximum annual rate of basic pay
then currently paid under the General Schedule for each day he is engaged in the performance of official business of
the Panel, including travel time, and is entitled to travel expenses as provided under section 5703 of this title.
  (5) (A) The Panel or its d esignee shall promptly investigate any impasse pre sented to it under subsection (b) of this
section . The Panel shall consider the impasse and [and] shall either--
      (i) recommend to the parties procedures for the resolution of the impasse; or
      (ii) assist the parties in resolving the impasse through whatever methods and proced ures, including factfinding
and recomm endations, it may consider appropriate to accomplish the purpose of this section.
    (B) If the parties do not arrive at a settlement after assistance by the Panel und er subparagraph (A) o f this
paragraph, the Panel may--
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      (i) hold hearings;
      (ii) administer oaths, take the testimony or deposition of any person under oath, and issue subpenas as provided
in section 7132 of this title; and
      (iii) take whatever action is necessary and not inconsistent with this chapter [5 USCS § § 7101 et seq.] to
resolve the impasse.
    (C) Notice of any final action of the Panel under this section shall be promptly served upon the parties, and the
action shall be binding on such parties during the term of the agreement, unless the parties agree otherwise.

HIST OR Y: (Added Oct. 13, 1978 , P.L. 9 5-45 4, T itle VII, § 701, 92 Stat. 12 08.)

             HISTORY; ANCILLARY LAW S AND DIRECTIVES
Reference s in text:
 "The G eneral Schedule", referred to in this section, is contained in 5 USCS § 5332.

Explanatory notes:
  The word "and " in sub sec. (c)(5)(A ) was en closed in brackets to indicate the p robable intent of Congress to o mit
such word.

Effective date of section:
  Act Oct. 13, 197 8, P.L. 95 -454, T itle IX, § 907 , 92 Stat. 122 7, which app ears as 5 USCS § 1101 note, provided
that this section is effective 90 days after enactment on Oct. 13, 1978.
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                                                  LEXSEE 104 P.L. 122

                                        U NIT ED ST AT ES P UB LIC LA W S
                                    104TH CONGRESS--SECOND SESSION
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                                     PUB LIC LAW 104-122 [H.J. Res. 170]
                                              MARCH 29, 1996
                               [FURTHER CONT INUING APPR OPRIATION S, FY96]

                104 P.L. 122; 110 Stat. 876; 1996 Enacted H.J. Res. 170; 104 Enacted H.J. Res. 170




                                                      Joint Resolution
    Making further continuing ap prop riations for the fiscal year 1996 , and for other p urposes.


  Resolved by the Senate and House of Representatives of the United States of America in Congress assembled, That
Public Law 104-99 is further amended by striking out "M arch 29, 1996 " in sections 106(c), 112, 126(c), 202(c) and
214 and inserting in lieu thereof "April 24, 1996"; and that Public Law 104-92 is further amended by striking out
"April 3, 1996" in section 106(c) and inserting in lieu thereof "April 24, 1996" and by inserting in title IV in the
matter before section 401 " out of any money in the Treasury not otherwise appropriated, and" before "out of the
general fund"; and that section 347(b)(3) of Public Law 104-50 <49 USC 106 note> is ame nded to read as follows:
       "(3) chapter 71, relating to labor-management relations;"; and that section 204(a) of the Auburn Indian
Resto ration A ct (25 U.S.C. 1300 l -2(a)) is amended by striking "shall" in the first sentence and inserting in lieu
thereof "may".
      [*2] SEC . 2. That the following sums are ap prop riated, out of any mo ney in the Trea sury not otherwise
app ropriated, for the fiscal year ending S eptem ber 3 0, 19 96, and for other purp oses, namely:

FOR EIGN OP ER AT IO N S, E XP O RT FIN AN CIN G , A ND RELA TED PRO G RA M S
FUNDS APPROPRIATED TO THE PRESIDENT
AGENCY FOR INTERNATIONAL DEVELOPMENT
Assistance for Eastern Europe and the Baltic States
(including transfers of funds)
     For an additional amount for "Assistance for Eastern Europe and the Baltic States" for Bosnia and Herzegovina,
including demining assistance, $ 198,0 00,0 00: P rovid ed, T hat of the funds appropriated under this head ing by this
Act that are made availab le for the econ omic revitalization program in B osnia and H erzeg ovina, not less than 87.5
percent shall b e obligated and expended for p rogra ms, projec ts, and activities, within the secto r assigned to
American forces of the m ilitary Implementation F orce (IFO R) established by the No rth Atlantic Council pursuan t to
the General Framework Agreement for Peace in Bosnia and Herzegovina and within the Sarajevo area: Provided
further, That the preceding proviso shall not apply to any project that involves activities in [**877] both the
American IFO R sector and other c ontiguous sectors: P rovid ed further, That prio rity consid eration shou ld be given to
projects and activities designated in the IFOR "Task Force Eagle civil military project list" in making available funds
for the economic revitalization program: Provided further, That none of the funds appropriated under this heading by
this Act shall be made available for the construction of new housing or residences in Bosnia and Herzegovina:
Pro vided further, T hat none of the funds appropriated under this head ing by this A ct or under this heading in Public
Law 104-107 may be made available for the purposes of repairing housing in areas where refugees or displaced
persons are refused, by Federation or local authorities, the right of return due to ethnicity or political party affiliation:
Pro vided further, T hat not to exceed $ 5,0 00,0 00 m ay be tra nsferred to " Debt Re structuring" to be made availab le
only for the cost, as defined in section 502 of the Congressional Budget Act of 1974, of modifying direct loans and
loan guarantees, notwithstanding any other provision of law: Provided further, That $ 3,000,000 shall be transferred
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to "Operating Expenses of the Agency for International Developme nt" for administrative expenses: Provided further,
That the additional amount appropriated or otherwise made available herein is designated by Congress as an
emergency requirement pursuant to section 251(b)(2)(D)(i) of the Balanced Budget and Emergency Deficit Control
Act of 1985, as amended : Provided further, That the provisions of section 515 o f Public Law 104-107, and any
similar provision of law requiring advance notification to the Congress, shall be applicable to funds appropriated
unde r this head ing, except that the requirements of tho se pro visions sh all be satisfied by notification five da ys in
advance of the obligation of such funds: Provided further: That, effective ninety days after the date of enactment of
this Act, none of the funds appropriated under this heading by this Act may be made available for the purposes of
economic revitalization in Bosnia and Herzegovina unless the President determines and certifies in writing to the
Committees on Appropriations that the aggregate bilateral contributions pledged by non-United States donors for
economic revitalization are at least equivalent to the United States bilateral contributions for economic revitalization
mad e by this A ct and in Pub lic Law 104 -107 : Provided further, T hat 50 percent of the funds appropriated under this
heading b y this Act that are made available for economic revitalization shall not be available for obligation unless
the President determines and certifies to the Committees on Appro priations that the Federation of Bosnia and
Herzego vina has com plied with article III of Annex 1-A o f the Genera l Fram ework Agreem ent for P eace in Bo snia
and Herzego vina concerning the withdrawal of foreign forces, and that intelligence cooperation on training,
investigations, and related activities between Iranian officials and Bosnian officials has been terminated: Provided
further, That funds withheld from obligation pursuant to the previous proviso may be made available for obligation
and expe nditure after June 15, 199 6, notwithstand ing the previous pro viso if the P resident determines and repo rts to
the Committees on Appropriations that it is important to the national security interest of the United States to do so:
Provided further, That the authority contained in the previous proviso to make such a determination may be
exercised by the President only and may not be delegated: Provided further, That with regard to funds appropriated
under this heading by this Act (and local [**878] currencies generated by such funds) that are made available for
economic revitalization, the Administrator of the Agency for International Development shall provide written
approval for grants and loans prior to the obligation and expenditure of funds for such purposes, and the
Administrator shall receive the agreement of grantees that such funds shall be subject to audits by the Inspector
General of the Agency for International Development: Provided further, That with regard to funds appropriated
unde r this head ing by this A ct (and local currencies generated by such fund s) that are mad e available for econom ic
revitalization, the Administrator of the Agency for International Developme nt shall provide written approval for the
use of funds that have been returned or repaid to any lending facility and grantee under the economic revitalization
program prior to the use of such returned or repaid funds: Provided further, That, notwithstanding any provision of
law under this heading in Public Law 104-107, the provisions of section 532 of that Act shall be applicable to funds
appropriated under this heading that are used under the economic revitalization program and to local currencies
generated by such funds: Provided further, That such loc al currencies ma y be used o nly for program purpo ses:
Provided further, That for the purposes of this Act, local currency generations under the economic revitalization
program shall include the conversion of funds appropriated under this heading into currency used by Bo snia and
Herzegovina as local currency and local currency returned or repaid under such program.

Speaker of the House of R epresentatives.
Vice President of the United States and President of the Senate.
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                                             LEXSTAT 49 USCS § 40122

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                         *** CU RREN T T HR OU GH P.L. 1 08-2 04, A PP RO VE D 3/02/0 4 ***
                                       *** W ITH A GA P O F 10 8-20 3 ***

                                         TITLE 49. TRANSPORTATION
                                      SUBT ITLE VII. AVIATION PROGRA MS
                                     PART A. AIR COMMERCE AND SAFETY
                                             SUBPAR T I. GENERAL
                                      CHAPTER 401. GENERAL PROVISIONS




   49 USCS § 40122 (2004)




§ 40122. Federal Aviation Administration personnel management system

(a) In general.
  (1) Consultation and negotiation. In developing and making chan ges to the personnel managem ent system initially
implemented by the Ad ministrato r of the Federal Aviation A dministration o n Ap ril 1, 19 96, the Adm inistrator shall
negotiate with the exclusive bargaining representatives of employees of the Administration certified under section
7111 o f title 5 and consult with other employees of the Administration.
  (2) Mediation. If the Administrator does not reach an agreement under paragraph (1) with the exclusive bargaining
representatives, the services of the Federal Mediation and Conciliation Service shall be used to attempt to reach such
agreement. If the services of the Federal Me diation and Conciliation Service do not lead to an agreement, the
Administrator's proposed change to the personnel management system shall not take effect until 60 days have
elapsed after the Administrator has transmitted the proposed change , along with the objections of the exclusive
bargaining represe ntatives to the change, and the re asons for such objections, to Congress. T he 60 -day period shall
not include any period during which Congress has adjourned sine die.
  (3) Cost savings and productivity goals. The Administration and the exclusive bargaining representatives of the
employees shall use every reasonable effort to find cost savings and to increase productivity within each of the
affected barga ining units.
  (4) Annual budget discussions. The Administration and the exclusive bargaining representatives of the employees
shall meet annually for the p urpo se of finding additiona l cost savings within the Ad ministratio n's annual budget as it
app lies to each of the affected bargaining units and throughout the agenc y.

(b) Expert evaluation. On the date that is 3 years after the personnel management system is implemented, the
Administration shall employ outside experts to provide an independent evaluation of the effectiveness of the system
within 3 months after such date. For this purpose, the Administrator may utilize the services of experts and
consultants under section 3109 of title 5 without regard to the limitation imposed by the last sentence of section
3109(b ) of such title, and may contract on a sole source basis, notwithstanding any other provision of law to the
contrary.

(c) Pay restriction. No officer or em ployee of the Administration ma y receive an annu al rate of basic pay in exc ess
of the annual rate of basic pay payable to the Administrator.

(d) Ethics. The Administration shall be subject to Executive Order No. 12674 [5 USCS § 7301 note] and
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regulations and opinions promulgated by the Office of Government Ethics, including those set forth in section 2635
of title 5 of the Code of Federal Regulations.

(e) Employee protections. Until July 1, 1999, basic wages (including locality pay) and operational differential pay
provided employees of the Administration shall not be involuntarily adversely affected by reason of the enactment of
this section, except for unacceptable performance or by reason of a reduction in force or reorganization or by
agreement between the Administration and the affected employees' exclusive bargaining representative.

(f) Lab or-management agreements. Exc ept as o therwise provided by this title, all labor-management agreements
covering employees of the Administration that are in effect on the effective date of the Air Traffic Management
System Performance Improvem ent Act of 1996, shall remain in effect until their normal expiration date, unless the
Administrato r and the exclusive bargaining rep resentative agree to the contrary.

(g) Personnel management system.
  (1) In genera l. In consultation w ith the employees of the Adm inistration and su ch non-governmental experts in
personnel management systems as he may employ, and notwithstanding the provisions of title 5 and other Federal
personnel laws, the Administrator shall develop and implement, not later than January 1, 1996, a personnel
management system for the Administration that addresses the unique demands on the agency's workforce. Such a
new system shall, at a minimum, provide for greater flexibility in the hiring, training, compensation, and location of
perso nnel.
  (2) Applicability of title 5. The provisions of title 5 shall not apply to the new personnel management system
developed an d imp lemented p ursuan t to paragrap h (1), with the exc eption of--
    (A) section 2302 (b), relating to whistleblower protection, including the provisions for investigation and
enforcement as provided in chapter 12 of title 5 [5 USCS § § 1201 et seq.];
    (B) sections 3308-3320, relating to veterans' preference;
    (C) chapter 7 1, relating to labor-ma nageme nt relations [5 USCS § § 7101 et seq.];
    (D) section 7204, relating to antidiscrimination;
    (E) chapter 73, relating to suitability, security, and conduct [5 USCS § § 7301 et seq.];
    (F) chapter 8 1, relating to co mpe nsation for work injury [5 USCS § § 8101 et seq.];
    (G) chapters 83-85, 87, and 89 [5 USCS § § 8301 et seq. through 8501 et seq., 8701 et seq., and 8901 et seq.],
relating to retirement, unemployment compensation, and insurance coverage; and
    (H) sections 1204, 1211-1218, 1221, and 7701-7703, relating to the Merit Systems Protection Board.
  (3) Appeals to Merit Systems Protection Board. Und er the new personnel management system developed and
implemented under paragraph (1), an employee of the Administration may submit an appeal to the Merit Systems
Protection Board and may seek judicial review of any resulting final orders or decisions of the Board from any action
that was appealable to the Board under any law, rule, or regulation as of March 31, 1996.
  (4) Effective date. This subsection shall take effect on April 1, 1996.

(h) Right to contest adverse personnel actions. An employee of the Federal Aviation Administration who is the
subject of a major adverse personnel action may contest the action either through any contractual grievance
procedure that is applicable to the employee as a member of the collective bargaining unit or through the
Administration's internal process relating to review of major adverse personnel actions of the Administration, known
as Guaranteed Fair Treatment, or under section 40122(g)(3).

(i) Election of forum. Where a majo r adverse personnel action may be contested through more than one of the
indicated forums (such as the contractual grievance procedure, the Federal Aviation Administration's internal
process, or that of the Merit Systems Protection Board), an employee must elect the forum through which the matter
will be contested. Nothing in this section is intended to allow an employee to contest an action through more than
one forum unless otherwise allowed by law.

(j) Definition. In this section, the term "major ad verse perso nnel action" means a susp ension of more tha n 14 days, a
reduction in pay or grade, a removal for conduct or performance, a nondisciplinary removal, a furlough of 30 days or
less (but not including placement in a nonpay status as the result of a lapse of appropriations or an enactment by
Congress), or a reduction in force action.
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HIST OR Y: (Added Oct. 9, 1996, P .L. 104-26 4, T itle II, Sub title B, § 253 , 110 Stat. 32 37.)
 (As am ended A pril 5, 2 000 , P.L. 1 06-1 81, T itle III, § § 307(a), 30 8, 11 4 Stat. 124 , 126 .)

              HISTORY; ANCILLARY LAW S AND DIRECTIVES
Reference s in text:
  The "effective date of the A ir Tra ffic Management System Performance Improvement Act of 199 6", re ferred to in
this section, is 30 days after the date of enactment (enacted Oct. 9, 1996), as provided by § 203 of Act Oct. 9, 1996,
P.L. 10 4-264 , which appe ars as 49 USCS § 106 note.

Effective date of section:
  This section became effective 30 days after enactment, pursuant to § 203 of Act Oct. 9, 1996, P.L. 104-264, which
appears as 49 USCS § 106 note.

Amendments:
  2000. Act April 5, 2000 ad ded subsec. (g).
  Such Act further (applicable only to fiscal years beginning after 9/30/99, as provided by § 3 of such Act, which
appears as 49 USCS § 106 note), in subsec. (a)(2), added sentence beginning "The 60-day period shall . . ."; and
added subsecs. (h)-(j).
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                                              LEXSTAT 49 USCS § 106

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                                       TITLE 49. TRANSPORTATION
                              SUBTITLE I. DEPARTMENT OF TRANSPORTATION
                                       CHAPTER 1. ORGANIZATION




   49 USCS § 106 (2004)




§ 106. Federal Aviation Administration


(l) Personnel and services.
  (1) O fficers and emp loyees. Except as p rovid ed in subsections (a) and (g) of sec tion 40 122 , the Ad ministrato r is
authorized, in the performance of the functions of the Administrator, to appoint, transfer, and fix the compensation of
such officers and employees, including attorneys, as may be necessary to carry out the functions of the Administrator
and the Administration. In fixing compensation and benefits of officers and employees, the Administrator shall not
engage in any type of bargaining, except to the extent provided for in section 40122(a), nor shall the Administrator
be bo und by any requirement to establish such com pensation o r benefits at particular levels.
  (2) Experts and consultants. T he Administrator is authorized to obtain the serv ices of experts and consultants in
accordance with section 3109 of title 5.
  (3) Transportation and per diem expenses. The Administrator is authorized to pay transportation expenses, and per
diem in lieu of subsistence expenses, in accordance with chapter 57 of title 5 [5 USCS § § 5701 et seq.].
  (4) Use of personnel from other agencies. The Administrator is authorized to utilize the services of personnel of
any other Federal agency (as such term is defined under section 551(1) of title 5).
  (5) Vo luntary services.
     (A) General rule. In exercising the authority to accept gifts and voluntary services under section 326 of this title,
and without regard to section 1342 of title 31, the Administrator may not accept voluntary and uncompensated
services if such services are used to displace Federal employees employed on a full-time, part-time, or seasonal
basis.
     (B) Incidental expenses. The Ad ministrator is authorized to provide for incidental expenses, including
transportation, lodging, and subsistence, for volunteers who provide voluntary services under this subsection.
     (C) Limited treatment as federal employees. An individual who provides voluntary services under this subsection
shall not be considered a Federal employee for any purpose other than for purposes of chapter 81 of title 5 [5 USCS
§ § 8101 et seq.], relating to compensation for work injuries, and chapter 171 of title 28 [28 USCS § § 2671 et
seq.], relating to tort claims.
  (6) Contracts. The Administrator is authorized to enter into and perform such contracts, leases, cooperative
agreements, or other transactions as may be necessary to carry out the functions of the Administrator and the
Administration. The Administrator may enter into such contracts, leases, cooperative agreements, and other
transactions with any Federal agency (as such term is defined in section 551(1) of title 5) or any instrumentality of
the United S tates, any S tate, territory, or possession, or political subd ivision thereof, any other governmental entity,
or any person, firm, association, corporation, or educational institution, on such terms and conditions as the
Administrato r may consider appropriate.
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                       CERTIFICATE OF SERVICE

     I hereby certify that a copy of the Plaintiffs’ Motion For

Summary Judgment, Statement of Material Facts As To Which There

Is No Genuine Issue, Memorandum Of Points And Authorities In

Support of Plaintiffs’ Motion For Summary Judgment, Declaration

of John Carr, Declaration of Thomas Brantley and Proposed Order

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